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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                Plaintiff,
                                                                CASE NO: 4:16CR3105
       vs.

ALEJANDRO HERAS-REAL,                                           DETENTION ORDER
              Defendant.


        The defendant poses a serious risk of flight if released. On the government's motion, the
court afforded the defendant an opportunity for a detention hearing under the Bail Reform Act,
18 U.S.C. § 3142(f). The court concludes the defendant must be detained pending trial.

        Based on the information of record, the court finds by a preponderance of the evidence
that the defendant's release would pose a risk of nonappearance at court proceedings.
        Specifically, the court finds that the defendant abuses mood-altering chemicals and is
likely to continue such conduct and violate the law if released; is not a United States citizen, is
subject to an ICE detainer, and faces deportation; presented no evidence opposing detention; and
conditions which restrict Defendant’s travel, personal contacts, and possession of drugs, alcohol,
and/or firearms; require reporting, education, employment, or treatment; or monitor Defendant’s
movements or conduct; or any combination of these conditions or others currently proposed or
available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks posed if the
defendant is released.
                                 Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       Dated March 14, 2017.

                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
